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                                           IN D IC TM EN T

        The Grand Jury charges that:

                                        CO UN T O N E
                          D eprivation ofRiehtsU nder C olor ofL aw
                                           (18U.S.C.j242)
        On or aboutApril7,2013,in M iam i-D ade C ounty,in the Southern D istrictofFlorida,the

 defendant,

                                   G U ILLERM O R W EL O ,

 while em ployed asapoliceoftk erw ith the V illage ofB iscayne Park Police D epartm entand ading

 under colorof law ,w illfully depdved J.P.ofthe right,secured and protected by the Constitution

 and law softhe U nited States,to be free from um-easonable seizuresby one acting under color of

 law ,w hich includesthe rightto be free from the use ofexcessive force by one acting undercolor

 oflaw .Specitk ally,R AV ELO assaulted J.P.during atraffic stop by striking J.P.with hististwhen

 J.P.washandcuffedand compliant,resultinginbodilyinjurytoJ.P.
        Allin violation ofTitle 18,United StatesCode,Section 242.
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                                         C O U N T TW O
                                     Falsification ofR ecords
                                         (18U.S.C.j 1519)
        On or aboutApril7,2013,in M iam i-Dade County,in the Southern D istrictofFlorida,the

 defendant,

                                    G U IL LERM O M VEL O ,

 in relation to and in contemplation ofa matterwithin thejudsdiction ofthe FederalBlzreau of
 Investigation, an agency of the U nited States,know ingly concealed, covered up, falsified,and

 m ade a false entry in a record and docum entwith the intentto im pede,obstruct,and influence the

 investigation and properadministration ofamatterwithin federaljurisdiction.Specifically,in a
 Com plaint/A rrest A ffidavit subm itted on or about A pril 7, 2013, defendant G UILLER M O

 R AVEL O falsitied a report,by om itting that he struck J.P.w ith his fist;and by m aking false

 statementsincluding'
                    .(1)stating thatJ.P.cametowardshim while attemptingto strikehim by
 swingingboth ofhisarmswithclinchedtists;(2)statingthatJ.P.struckhim ontheforehead;and
 (3)statingthatJ.P.continuedtoresistarrestbyswinginghisannsandkickinghim and theother
 ofticers in the chest,arm s and legs.

        A1lin violation ofTitle 18,U nited States Code,Section 1519.

                                        C O U N T TH R EE
                           D eprivation ofltiuhts Under C olor ofLaw
                                         (18U.S.C.j242)
        On or aboutJune 14,2013,in M iam i-Dade County,in the Southern D istrictofFlolida,the

 defendant,

                                    G U ILLER M O R W E LO ,




                                                2
Case 1:18-cr-20255-CMA Document 3 Entered on FLSD Docket 04/05/2018 Page 3 of 6



 w hileem ployed asa police ofticerw ith theV illage ofBiscayne Park Police D epartm entand acting

 undercoloroflaw ,w illfully deprived B.N .ofthe right,secured and protected by the Constitution

 and lawsofthe United States,to befreefrom unreasonable seizuresby one acting undercolorof

 law ,w hich includes the rightto be free from the use ofexcessive force by one acting undercolor

 oflaw .Specitk ally,RAV ELO assaulted B.N .through the use of a dangerous w eapon by striking

 B.N.withabluntobject,resultinginbodilyinjuryto B.N.
         Allin violation ofTitle 18,U nited States Code,Section 242.

                                         CO U N T FO UR
                                     Falsification ofR ecords
                                        (18U.S.C.j1519)
         On oraboutJune 14,20l3,in M iam i-D ade County,in the Southern D istrictofFlorida,the

 defendant,

                                   G U ILLE RM O M V ELO ,

 in relation to and in contemplation ofamatterwithin thejulisdiction ofthe FederalBureau of
 Investigation,an agency of the U nited States,know ingly concealed,covered up, falsitied,and

 m ade a false entry in a docum entand record w ith the intentto im pede,obstruct,and influence the

 investigation and properadministration ofamatterwithin federaljurisdiction.Specifically,in a
 Com plaint/A rrest A ftidavit subm itted on or about June 14, 2013, defendant G UILLER M O

 RAVELO falsifiedareportbyomittingthathestruckB.N.intheheadwith abluntobject;andby
 makingfalsestatementsincluding:(1)thatwhileRAVELO waschasingB.N.onfoot,B.N.fellto
 thegroundand(2)thatasheapproachedB.N.,heobservedB.N.onthegroundbleedingfrom the
 head.




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        Allin violation ofTitle 18,United StatesCode,Section 1519.

                                                 A TRUE NILL.


                                                 FOREPERSON



  (NJAMING koû j
 BE                -                             Jolm M .G ore
          GREEN BERG
               .                                 Acting A ssistantAttorney G eneral
 United StatesA ttorney                          United StatesD epartm entofJustice
                                                 CivilRightsD ivision



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 H R C .W A LLA E,JR.                            D .W .TUN N A GE
 Assist tU nited StatesA ttonw y                 TrialAttorney
                                                 CivilRightsD ivision




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                                     UNITED STATES DISTR IC T CO URT
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                          SO UTH ERN  Entered
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                                                   FLO RIDA

UNITED STATES O F AM ERICA                     CA SE NO .

                                               C ERTIFICATE O F TRIAL ATTO RNEY.
GU ILLERM O RA VELO
                  Defendant.              /    Superseding CaseInform ation:


CourtDivision:(selectone)                     New Defendantts)
                                              N um berofN ew Defendants
                                                                                 ves /          xoL
   V Miami                KeyWest             Totalnum berofcounts
       FTL                w PB      FTP
       Ido hereby certify that:
                lhave carefully considered the allegations ofthe indictment,the num berofdefendants,the num ber
                ofprobable witnessesand the legalcom plexitiesofthelndictment/lnform ation attached hereto.
                lam aFarethattheinformation suppliedonthisstatementwillberelied upon by theJudgesofthis
                Courtln setting theircalendarsand scheduling crim inaltrials underthe mandate ofthe Speedy Trial
                Act,Title 28 U.S.C.Section 3l6l.
                Interpreter:     (YesorNo)     NO
                Listlanguage and/ordialect
                Thiscase willtake     6       daysforthepartiesto try.
                Pleasecheck appropriate category and type ofoffense listed below:
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       l        0 to 5 days                                     Petly
                6 to 10 days                            d       M inor

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       11l      1l to 20 days                                   M isdem.
       IV       21to 60 days                                    Felony
       V        61daysand over
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                Hasthiscasebeenpreviouslyfiled in thisDistrictCourt? (YesorNo) No
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       Judge:                                           CaseN o.
       (Attachcopypfdispositiveorder)
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       Defendantts)infederalcustodyasof
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       lsthisapotentialdeathpenaltycase?(YesorNo)               No

                Dpesthiscase oricinate from a m atter       ' in the            Region ofthe U .S.Attorney'sOffice
                prlortoOctober17,2003?        Yes              No        V


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                                                          arry W allace, .
*penaltySheetts)attached                                A SSISTA N T UN ITED STA TES A TTORN EY
                                                        CourtI.D .N o.0623946

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Case 1:18-cr-20255-CMA Document 3 Entered on FLSD Docket 04/05/2018 Page 6 of 6




                           U NITED STA TE S D ISTR ICT C O U R T
                           SO UTH ERN D ISTR ICT O F FL O RID A

                                     PEN A LTY SHEET



 Defendant'sN am e: G UILLER M O R W E LO



 Count#:1

 Deprivation ofRights Under ColorofLaw

 Title l8.United States Code,Section 242

 *M ax.Penalty: 10 Years'Im prisonm ent

 Count#:2

 Falsitication ofRecords

 Title 18.U nited StatesCode.Sedion 1519

 *M ax.Penalty:20 Y ears'Im prisonm ent

 Count#:3

 D eprivation ofRichts UnderColorofLaw

 Title 18.United StatesCode.Section 242

 *M ax.Penalty:10 Y ears'lm prisonm ent

 Count#:4

 Falsification ofRecords

 Title 18-United StatesCode-Section 1519

 *M ax.Penalty:20 Years'Im prisonm ent


 * R efersonly to possible term ofincarceration,does notinclude possible fines,restitution,
  specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
